                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF IOWA
                                        CEDAR RAPIDS DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                    Plaintiff,                       )          No. CR 06-0053 LRR
                                                     )
          vs.                                        )
                                                     )
JAHMAL GREEN,                                        )
    a/k/a Cheeseburger,                              )
                                                     )
                    Defendant.                       )

                            GOVERNMENT’S SENTENCING MEMORANDUM

          The United States submits the following memorandum regarding the sentencing

of the above-named defendant on January 31, 2007, at 8:00 a.m.

          Witnesses: The United States does not anticipate calling any witnesses to

testify at the sentencing hearing.

          Exhibits: The United States does not intend to enter any exhibits.

          Sentencing Issues: None

                                                    Respectfully submitted,

                                                    JUDITH A. WHETSTINE
    CERTIFICATE OF SERVICE
                                                    Acting United States Attorney

I certify that I electronically served a copy of    By, s/Patrick J. Reinert
the foregoing document to which this
certificate is attached to the parties or
attorneys of record, shown below, on January        PATRICK J. REINERT
12, 2007.
                                                    Assistant United States Attorney
    UNITED STATES ATTORNEY                          401 First Street SE, Suite 400
                                                    Cedar Rapids, IA 52401-1825
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